Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 1 of 11




             EXHIBIT 1
         Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 2 of 11




1/6 Defendant/Case No.     Plea Date              Charge                  Offense conduct
Josh & Jessica Bustle,     6/14/21                Parading in Capitol 1   Entered Capitol
21cr238                                                                   Building, remained
                                                                          for 20 minutes.
                                                                          Posted on Facebook,
                                                                          “Pence is a traitor.
                                                                          We stormed the
                                                                          capital (sic). . . We
                                                                          need a revolution!”
Bryan Ivey, 21cr267        6/22/21                Parading in Capitol     Entered Capitol
                                                                          Building through a
                                                                          breached window,
                                                                          waving additional
                                                                          rioters into the
                                                                          building, spending 30
                                                                          minutes inside.
Robert Reeder, 21cr166     6/23/21                Parading in Capitol     Entered Capitol
                                                                          Building twice, threw
                                                                          punch at police
                                                                          outside.



Robert Bauer, Edward       6/28/21                Parading in Capitol     Entered Capitol
Hemenway,                                                                 Building, chanting
21cr49                                                                    “Stop the Seal!”
                                                                          inside.
Valerie Ehrke, 21cr97      6/30/21                Parading in Capitol     Entered Capitol
                                                                          Building.


Matthew Mazzocco,          7/2/21                 Parading in Capitol     Entered the Capitol
21cr54                                                                    Building, posted on
                                                                          Facebook, “The
                                                                          capital (sic) is ours!”
Michael Curzio, 21cr41     7/12/21                Parading in Capitol     Entered the Capitol
                                                                          Building, refusing to
                                                                          leave when ordered
                                                                          to do so by police.




  1
   “Parading in the Capitol” refers to the misdemeanor offense in 40 U.S.C. § 5104(e)(2)(G).
  “Disorderly conduct in the Capitol” refers to the misdemeanor offense in § 5104(e)(2)(D).
  “Entering a restricted area” refers to the misdemeanor offense in 18 U.S.C. § 1752(a)(1).
                                                                                                    1
         Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 3 of 11




Danielle Doyle, 21cr324   7/14/21         Parading in Capitol     Entered the Capitol
                                                                  Building by climbing
                                                                  through broken
                                                                  window, remained
                                                                  inside for about 30
                                                                  minutes.
Donna Bissey,             7/19/21         Parading in Capitol     Entered the Capitol
21cr165                                                           Building, posting on
                                                                  social media, “This is
                                                                  the first time the U.S.
                                                                  Capitol has been
                                                                  breached since it was
                                                                  attacked by the
                                                                  British in 1814” and
                                                                  “I’m proud that I was
                                                                  a part of it! No
                                                                  shame.”
Andrew Bennett,           7/22/21         Parading in Capitol     Entered the Capitol
21cr227                                                           Building,
                                                                  livestreaming the
                                                                  event on his
                                                                  Facebook page for
                                                                  over an hour.
Derek Jancart and Erik    7/23/21         Disorderly conduct in   Jancart: (1) brought a
Rau, 21cr148, 21cr467                     Capitol                 gas mask and two-
                                                                  way radios to D.C.;
                                                                  (2) penetrated the
                                                                  Capitol Building all
                                                                  the way to the
                                                                  Speaker’s conference
                                                                  room; (3) “likely
                                                                  destroyed evidence
                                                                  by deleting videos
                                                                  and message threats
                                                                  from his phone”; (4)
                                                                  posted on social
                                                                  media that he
                                                                  believed a revolution
                                                                  was coming; and (5)
                                                                  stated on Facebook
                                                                  that he “stormed the
                                                                  Capitol,” explaining
                                                                  that the protesters
                                                                  “wanted to let the
                                                                  politicians know we


                                                                                            2
          Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 4 of 11




                                                                     can get this far
                                                                     anytime we want.”

Lori, Thomas Vinson,      7/27/21             Parading in Capitol    Entered the Capitol
21cr355                                                              Building, with one
                                                                     defendant later telling
                                                                     news outlet that her
                                                                     actions were
                                                                     “justified” and that
                                                                     she would “do this all
                                                                     over again.”
Jordan Stotts, 21cr272    7/28/21             Parading in Capitol    Entered the Capitol
                                                                     Building, remained
                                                                     inside for an hour,
                                                                     celebrating with
                                                                     others and taking
                                                                     videos with his cell
                                                                     phone.
Jack Griffith, 21cr204    7/29/21             Parading in Capitol    Entered the Capitol
                                                                     Building, taking
                                                                     celebratory pictures
                                                                     in the Crypt.
Eliel Rosa, Jenny Cudd,   7/29/21, 10/13/21   Parading in Capitol,   Entered the Capitol
21cr68                                        Entering Restricted    Building.
                                              Area
Karl Kresch, 21cr71       8/4/21              Parading in the        Entered the Capitol
                                              Capitol                Building, posting on
                                                                     Facebook, “we the
                                                                     people took back our
                                                                     house” and “those
                                                                     traitors know who’s
                                                                     really in charge.”
John Lolos, 21cr243       8/4/21              Parading in the        Entered the Capitol
                                              Capitol                Building, climbing
                                                                     through a broken
                                                                     window, texting
                                                                     friends, “We’re
                                                                     storming the Capitol
                                                                     now.”
Boyd Camper, 21cr325      8/5/21              Parading in the        Entered the Capitol
                                              Capitol                Building, filming
                                                                     himself celebrating
                                                                     inside.



                                                                                               3
         Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 5 of 11




Glen Croy, 21cr162      8/9/21            Parading in the         Entered the Capitol
                                          Capitol                 Building. Chief
                                                                  Judge asked
                                                                  government at plea
                                                                  hearing how parading
                                                                  offense is
                                                                  conceptually different
                                                                  from its obstruction
                                                                  of justice claim under
                                                                  § 1512(c)(2).
Douglas Sweet, Cindy    8/10/21           Parading in the         Entered the Capitol
Fitchett, 21cr41                          Capitol                 Building, Fitchett
                                                                  filming herself
                                                                  saying, “We are
                                                                  storming the Capitol.
                                                                  We have broken in.”
Jennifer Ryan, 21cr50   8/19/21           Parading in the         Entered the Capitol
                                          Capitol                 Building, posting on
                                                                  Facebook,
                                                                  “storm[ing] the
                                                                  Capitol,” chanting
                                                                  inside, “Fight for
                                                                  Trump!”
Eric Torrens, 21cr204   8/19/21           Parading in the         Entered the Capitol
                                          Capitol                 Building, taking
                                                                  celebratory pictures
                                                                  in the Crypt.
Mark Simon, 21cr67      8/19/21           Parading in the         Entered the Capitol
                                          Capitol                 Building through
                                                                  broken door, camera
                                                                  footage shows Simon
                                                                  saw broken glass and
                                                                  alarm sirens as he
                                                                  entered.
Rasha Abdual-Ragheb,    8/23/21           Parading in the         Entered the Capitol
21cr42                                    Capitol                 Building, desiring to
                                                                  demonstrate against
                                                                  Congress.
Jonathan Sanders,       8/26/21           Parading in the         Entered the Capitol
21cr384                                   Capitol                 Building, intending to
                                                                  protest presidential
                                                                  election.
Kevin, Sean Cordon,     8/27/21           Entering restricted     Entered the Capitol
21cr277                                   area, Parading in the   Building through
                                          Capitol.                broken window,
                                                                  Kevin stating to

                                                                                       4
         Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 6 of 11




                                                                reporter his purpose
                                                                was “to take back our
                                                                democratic republic.
                                                                It’s clear that this
                                                                election is stolen. . .
                                                                This is just the
                                                                beginning.”
Gracyn Courtright,        8/30/21         Entering restricted   Entered the Capitol
21cr72                                    area                  Building, stepping
                                                                over broken glass to
                                                                go inside, chanting,
                                                                “whose house, our
                                                                house.”
David Mish, 21cr112       8/30/21         Parading in the       Entered the Capitol
                                          Capitol.              Building.

Bradley Rukstales,        8/31/21         Parading in the       Entered the Capitol
21cr41                                    Capitol               Building, threw
                                                                chairs at police
                                                                officers, refused to
                                                                leave on police
                                                                orders.
Michael Orangias,         8/31/21         Parading in the       Entered the Capitol
21cr265                                   Capitol               Building, taking
                                                                pictures inside.
John Wilkerson, 21cr302   8/31/21         Parading in the       Entered the Capitol
                                          Capitol               Building, posting on
                                                                social media, “today
                                                                was a good day, we
                                                                got inside the
                                                                Capitol.”
Abram Markovsky,        9/1/21            Parading in the       Entered the Capitol
Brandon Nelson, 21cr344                   Capitol               Building,
                                                                Marskovsky texting,
                                                                “We stormed the
                                                                Capitol and shut it
                                                                down. Currently still
                                                                inside” and “Patriots
                                                                won’t go down
                                                                without a fight.”
Jeremy Ryan Sorvisto,     9/1/21          Parading in the       Entered the Capitol
21cr320                                   Capitol               Building, taking
                                                                pictures of himself in
                                                                the Crypt.


                                                                                          5
          Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 7 of 11




Frank Scavo, 21cr254      9/8/21           Parading in the    Entered the Capitol
                                           Capitol            Building, recording
                                                              himself on video
                                                              saying, “Stormed the
                                                              f***ing Capitol” and
                                                              “We f***ing took it
                                                              back” and “Treason.”
Russell Peterson,         9/8/21           Parading in the    Entered the Capitol
21cr309                                    Capitol            Building,
                                                              livestreaming the
                                                              event, later posting
                                                              on Facebook,
                                                              “stormed the castle,
                                                              broke into the
                                                              chambers and
                                                              smoked a blunt on the
                                                              couch.”
Andrew Wrigley, 21cr42    9/8/21           Parading in the    Entered the Capitol
                                           Capitol            Building, taking
                                                              pictures of himself
                                                              inside.
Virginia Spencer,         9/9/21           Parading in the    Entered the Capitol
Christopher Raphael,                       Capitol            Building, into the
21cr147                                                       hallway of offices
                                                              belonging to the
                                                              Speaker.
Jacob Hiles, 21-cr-155    9/9/21           Parading in the    Entered the Capitol
                                           Capitol            Building, taking
                                                              pictures showing him
                                                              smoking “an
                                                              unknown substance”
                                                              inside.
Douglas Wrangler, Bruce   9/10/21          Parading in the    Entered the Capitol
Harrison, 21cr365                          Capitol            Building, taking
                                                              pictures of
                                                              themselves inside.
Brandon, Stephanie        9/10/21          Parading in the    Entered the Capitol
Miller, 21cr266                            Capitol            Building, steaming
                                                              video of themselves
                                                              online.
Terry Brown, 21cr41       9/10/21          Parading in the    Entered the Capitol
                                           Capitol            Building, disobeyed
                                                              police order to leave.




                                                                                   6
         Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 8 of 11




Felipe Marquez, 21cr136   9/10/21         Disorderly conduct in   Entered the
                                          the Capitol             “hideaway” office of
                                                                  Senator Merkley,
                                                                  saying, “We only
                                                                  broke a couple
                                                                  windows.”
Michael Rusyn, 21cr303    9/13/21         Parading in the         Among the first to
                                          Capitol                 enter the Capitol
                                                                  through a certain
                                                                  door, part of a group
                                                                  of people who
                                                                  shouted, “Tell Pelosi
                                                                  we’re coming for that
                                                                  b****,” called police
                                                                  traitors, and shouted
                                                                  “Stop the steal.”
Andrew Hatley, 21cr98     9/14/21         Parading in the         Entered the Capitol
                                          Capitol                 Building, taking
                                                                  pictures with various
                                                                  historical statues.
Nicholas Perretta,        9/15/21         Parading in the         Entered the Capitol
Mitchell Vukich, 2cr539                   Capitol                 Building, stealing
                                                                  paperwork they found
                                                                  on the floor.
Kenneth Kelly, 21cr331    9/17/21         Parading in the         Entered the Capitol
                                          Capitol                 Building, texting,
                                                                  “inside [Capitol] via
                                                                  breaking in windows.
                                                                  Tree of liberty was
                                                                  watered today!” and
                                                                  “Patriots broke in
                                                                  while Senate was in
                                                                  session.”
Nicholas Reimler,         9/17/21         Parading in the         Entered the Capitol
21cr239                                   Capitol                 Building, taking
                                                                  pictures of himself
                                                                  and friends.
Tam Pham, 21cr109         9/20/21         Parading in the         Entered the Capitol
                                          Capitol                 Building, took a
                                                                  picture of himself
                                                                  with caption, “Trump
                                                                  – 2020- No More
                                                                  Bullshit.”
Caleb Jones, 21cr321      9/21/21         Parading in the         Entered the Capitol
                                          Capitol                 Building, “walking
                                                                  down numerous

                                                                                      7
          Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 9 of 11




                                                              hallways and into the
                                                              Capitol Rotunda.”

Andrew Ericson, 21cr506 9/23/21            Parading in the    Entered the Capitol
                                           Capitol            Building, penetrating
                                                              all the way to the
                                                              Speaker’s conference
                                                              room, stealing a
                                                              possession of the
                                                              Speaker’s.
Anthony R. Mariotto,      9/24/21          Parading in the    Entered the Capitol
21cr94                                     Capitol            Building, posting on
                                                              Facebook, “This is
                                                              our house” under
                                                              selfie photograph.
Michael Stepakoff,        9/24/21          Parading in the    Entered the Capitol
21cr96                                     Capitol            Building, posting on
                                                              social media after,
                                                              “The Capitol is OUR
                                                              house, not theirs.”
Tanner Sells, 21cr549     9/27/21          Parading in the    Entered the Capitol
                                           Capitol            Building.

Gary Edwards, 21cr366     9/27/21          Parading in the    Entered the Capitol
                                           Capitol            Building, including
                                                              Senate office S140.
Zachary, Kelsey Wilson,   9/27/21          Parading in the    Entered the Capitol
21cr578                                    Capitol            Building, penetrating
                                                              all the way to the
                                                              Speaker’s personal
                                                              office.
Jennifer Parks, Esther    9/28/21          Parading in the    Entered the Capitol
Schwemmer, 21cr363                         Capitol            Building, taking
                                                              pictures inside.
Anthony Scirica, 21cr457 9/28/21           Parading in the    Entered the Capitol
                                           Capitol            Building, walking
                                                              down numerous
                                                              hallways and into the
                                                              Capitol Rotunda.
Jackson Kostolsky,        9/28/21          Parading in the    Entered the Capitol
21cr197                                    Capitol            Building.




                                                                                      8
         Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 10 of 11




Dawn Bancroft, Diana     9/28/21          Parading in the         Entered the Capitol
Santos-Smith                              Capitol                 Building through a
                                                                  broken window,
                                                                  Bancroft filming a
                                                                  selfie saying, “WE
                                                                  WERE LOOKING
                                                                  FOR NANCY TO
                                                                  SHOOT HER IN
                                                                  THE FRICKIN’
                                                                  BRAIN BUT WE
                                                                  DIDN’T FIND
                                                                  HER.”
Eduardo Gonzalez,        9/30/21          Parading in the         Entered the Capitol,
21cr115                                   Capitol                 smoking marijuana
                                                                  inside “multiple
                                                                  times.”
Leonard Ridge, 21cr406   10/1/21          Entering a restricted   Entered the Capitol
                                          area.                   Building. Ridge
                                                                  previously texted, “I
                                                                  think we are going to
                                                                  try to block the
                                                                  session of
                                                                  [C]ongress.” Ridge
                                                                  later texted that he
                                                                  had stormed the
                                                                  Capitol and that “we”
                                                                  had broken down
                                                                  doors to the offices of
                                                                  Senator Mitch
                                                                  McConnell and
                                                                  Nancy Pelosi.
Rachael Pert, Dana       10/4/21          Entering a restricted   Entered the Capitol
Winn, 21cr139                             area.                   Building, Pert later
                                                                  saying, “We were
                                                                  trying to storm them
                                                                  to stop the vote . . .”
Dominick Madden,         10/5/21          Parading in the         Entered the Capitol
21cr55                                    Capitol                 Building.

Israel Tutrow, 21cr310   10/6/21          Parading in the         Entered the Capitol
                                          Capitol                 Building with a knife.

James Bonet, 21cr121     10/7/21          Entering a restricted   Entered the Capitol
                                          area.                   Building, posted
                                                                  videos on Facebook

                                                                                            9
Case 1:21-cr-00175-TJK Document 207-1 Filed 10/14/21 Page 11 of 11




                                                     titled “Smoking at the
                                                     capital building”
                                                     (sic). They depict the
                                                     defendant using a
                                                     controlled substance
                                                     inside the Crypt of
                                                     the Capitol. Another
                                                     video showed the
                                                     defendant saying,
                                                     “We made it in the
                                                     building bitches!
                                                     We’re taking it back!
                                                     We are taking it
                                                     back!” Bonet entered
                                                     the office of Senator
                                                     Jeff Merkley and
                                                     smoked the
                                                     controlled substance
                                                     there.




                                                                         10
